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          Via ECF

          The Honorable Robe1i W. Sweet
          United States District Court
          Southern District of New York
          500 Pearl Street
          New York, NY 10007

                    Re:   Salazar, et al v. 203 Lena Inc., et al. Case No. 16-cv-01743 (RWS)
                          Suggestion of Bankruptcy

          Dear Judge Sweet:

                  Our office is bankrnptcy counsel to 203 Lena Inc. ("203' or " the Debtor"). I write to
          respectfully inform the Comt that 203 has filed for Chapter 11 on August 16, 2017 under Case#
          17-23274 (RDD) and that all matters are hereby stayed pursuailt to Section 362 of the
          Bankrnptcy Code. We respectfully submit that the stay applies to rhe non-debtor individual
          defendants as well.

                  The complaint herein seeks damages on account of alleged u111paid ove1time and wages
          by the corporate defendants. Consequently, the case caimot go foii ard without the corporate
          defendant's involvement because their books and records are essential to detennine whether or
          not plaintiffs' are entitled to any recovery. Indeed all discovery propo~nded by the plaintiffs was
          directed at records of the corporate defendants.

                 The automatic stay extends to a non-debtor co-defendant:

                          "[W]hen a claim against the non-debtor will have an immediate
                          adverse economic consequence for the debtor's estatel ' Queenie,
                          321 F.3d at 287. Examples delineated by the Secr nd Circuit
                          include: (1) "a claim to establish an obligation of whic~ the debtor
                          is a guarantor," Queenie, 321 F.3d at 288 (citing M6:Cartney v.
                          Integra Nat'! Bank N., 106 F.3d 506, 510-11 (3d Cir.1 ~97)); (2) "a
                          claim against the debtor's insurer," Queenie, 321 F11.3d at 288
                          (citing Johns-Manville Corp. v. Asbestos Litig. Grow    · , 26 B.R.
                          420, 435-36 (Bankr.S.D.N.Y.1983)); and (3) "actions ·here 'there




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                          is such identity between the debtor and the third-pait defendant



                            ~]-                                               )eJ
                                                                                     1
                          that the debtor may be said to be the real patty de£ ndant.. .. ' "
                          Queenie, 321 F.3d at 288 (quoting A.H. Robins,      ZJ}F 2d at 999).

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Uta v. Job Site Servs., Inc., 444 B.R. 222, 224 (E.D.N.Y. 2011) quotinl Queenie, Ltd. V. Nygard
Int'/, 321 F.3d 282, 287 (2d Cir. 2003).

         Here, the corporate defendant, and chapter 11 debtor, is the rl al party in interest. The
liability of the individual defendants, if any, only aiises if the corporation has not properly paid
their employees and that dete1mination, presently, lies with the Bankn~ptcy Court. Accordingly,
the automatic stay should be extended to cover the non-debtor individ~al defendants.

       Please find a copy of a recent Order entered by Judge Jesse M. Furman in the case of
Galvez vs. Kem Restaurant, Inc., et al. Case #17-cv-1514 (JMF) whicl~ supports our position that
the corporate defendant (203) which is now in bankruptcy is the real party in interest and that the
bankrnptcy stay applies to all defendants.

      Finally, we have a long standing relationship with Plaintiff's counsel and have settled
numerous wages and hours cases with them. We are confident that we      rill
compromise their claim in the bankrnptcy court and settle the matter t~ere.
                                                                            be able to


       Thank you for your consideration of the above.                   I
                                                     Respectfully submitted,



                                                     Lawrence F. Mon1son, Esq.
                                                     Morrison Tenenb ~um, PLLC
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                                                     T. (212) 620-093~
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cc: Plaintiffs' Counsel (VIA ECF)




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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORI<.                                                     ELE/CTRONICALLY FILED
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                                                                                    DA~E    FILED: 07/07/2017
NOE GALVEZ, on behalf ofhimse!f, FLSA Collective
Plaintiffs, and the Class,                                                               I
                                  Plaintiff,                                       l 7-Cy -1514 (JMF)

                 -v-                                                                     ORDER

KEM RESTAURANT, INC., et al .,
                                             Defendants.

----------------------------------------------------------------------x

JESSE M. FURMAN, District Judge:

        In view of the automatic stay by reason of section 362 of the Banlauptcy Code, the above

entitled action is administratively closed subject to the right of any party to reopen within 21

days of the conclusion ofbanlm1ptcy proceedings, or the lifting or modificatiL of the automatic

stay as applied to this action. Notably, the banlauptcy stay applies to all Defehdants, including
                                                                                I
the individual Defendants, because the Debtor Defendants are the real parties in interest.
                                                                               .        I
        SO ORDERED.                                                                     I

Dated: July 7, 2017
       New York, New York
                                                              ----#-.<
                                                                  ~N-
                                                                    United States Districr Judge
